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    9
   10                      UNITED STATES DISTRICT COURT
   11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 NEMAN BROTHERS & ASSOC.,                     Case No. 2:20-cv-11181-CAS-JPRC
      INC., a California Corporation,
   14                                              [PROPOSED] ORDER GRANTING
                   Plaintiff,                      DEFENDANT AND
   15                                              COUNTERCLAIM PLAINTIFF
            v.                                     INTERFOCUS, INC. D.B.A.
   16                                              WWW.PATPAT.COM’S
      INTERFOCUS, INC. d.b.a.                      APPLICATION TO FILE UNDER
   17 www.patpat.com, a Delaware                   SEAL PREVIOUSLY ENTERED
      Corporation; CAN WANG, and                   INTO SETTLEMENT
   18 individual, and DOES 1-10, inclusive.,       AGREEMENT
   19              Defendants.                     Date: August 16, 2021
                                                   Time: 10:00 am
   20                                              Courtroom: Courtroom 8D
      INTERFOCUS, INC. d.b.a.
   21 www.patpat.com, a Delaware                   The Hon. Christina A. Snyder
      Corporation; CAN WANG, an
   22 individual, and DOES 1-10, inclusive,
   23              Counterclaim Plaintiffs,
   24        v.
   25 NEMAN BROTHERS & ASSOC.,
      INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
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                                               1
        [PROPOSED] ORDER GRANTING APPLICATION TO FILE UNDER SEAL PREVIOUSLY ENTERED INTO
                                    SETTLEMENT AGREEMENT
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    1        Good cause appearing, it is ordered that the unredacted settlement agreement
    2 designated Exhibit 3 is ordered filed under seal.
    3 [judge’s signature block]
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        IT IS SO ORDERED.
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    6 Dated:
                                                     The Honorable Christine A.Snyder
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                                                     United States District Judge
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         [PROPOSED] ORDER GRANTING APPLICATION TO FILE UNDER SEAL PREVIOUSLY ENTERED INTO
                                     SETTLEMENT AGREEMENT
